       Case 1:25-cv-00286-RCL         Document 50       Filed 02/21/25     Page 1 of 3




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

JANE DOE, et al.,

                     Plaintiffs,

v.
                                                    Case No.: 1:25-cv-00286
PAMELA BONDI, in her official
capacity as Attorney General of the
United States; WILLIAM LOTHROP, in
his official capacity as Acting Director of
the Federal Bureau of Prisons,

                     Defendants.


      PLAINTIFFS’ MOTION FOR TEMPORARY RESTRAINING ORDER
              AND EXPANDED PRELIMINARY INJUNCTION

       Pursuant to Federal Rule of Civil Procedure 65 and Local Civil Rule 65.1,

Plaintiffs Jane Doe, et al., respectfully file this motion for entry of a temporary

restraining order and preliminary injunction as to all Defendants. Plaintiffs rely on the

concurrently filed memorandum of points and authorities, the Complaint, and other

documents filed in this action to support their requested relief. Pursuant to Local Civil

Rule 7(m), undersigned counsel states that they have met and conferred with opposing

counsel regarding this motion and have not been able to resolve by agreement the issues

raised herein.

       Plaintiffs respectfully request that the Court schedule an expedited hearing on this

motion. As explained in the accompanying memorandum, expedition is essential because

Plaintiffs face imminent transfer to men’s facilities in the coming days and the
       Case 1:25-cv-00286-RCL        Document 50       Filed 02/21/25     Page 2 of 3




termination of necessary medical care for their gender dysphoria, which will place them

immediately at serious risk of harm. Pursuant to Local Rule 65.1(a), copies of this

motion and all pleadings and papers filed in this action shall be furnished to opposing

counsel at the time of filing through the Court’s electronic filing system.


Dated: February 21, 2025                          /s/ Eve L. Hill
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                                             2
Case 1:25-cv-00286-RCL   Document 50      Filed 02/21/25   Page 3 of 3




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